Case 20-65736-pwb         Doc 28     Filed 12/08/20 Entered 12/08/20 11:09:52               Desc Main
                                     Document     Page 1 of 3




   IT IS ORDERED as set forth below:



   Date: December 8, 2020
                                                              _________________________________

                                                                        Paul W. Bonapfel
                                                                  U.S. Bankruptcy Court Judge
 _______________________________________________________________

                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                         :         CHAPTER 7
                                               :
VICTOR VU NGUYEN,                              :         CASE NO. 20-65736-PWB
                                               :
               Debtor.                         :

ORDER APPROVING SETTLEMENT WITH DEBTOR UNDER FEDERAL RULES OF
               BANKRUPTCY PROCEDURE RULE 9019

         On November 3, 2020, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of Victor Vu Nguyen (“Debtor”), filed a Motion for

Compromise and Settlement [Doc. No. 24] (the “Motion”) and a Notice of Pleading, Deadline to

Object, and For Hearing and [Doc. No. 25] (the “Notice”) seeking an order approving a

settlement between Trustee and Victor Vu Nguyen (“Mr. Nguyen”) of a Preference Claim for

the sum of $6,000.00. Under the terms of the Settlement, inter alia, Mr. Nguyen shall pay a

total     of      $6,000.00     to   Trustee       via    a      $3,000      down      payment    and




                                                   1
Case 20-65736-pwb         Doc 28   Filed 12/08/20 Entered 12/08/20 11:09:52           Desc Main
                                   Document     Page 2 of 3



three monthly payments of $1,000.00. The complete terms of the settlement are set forth in the

Motion.

       The court has considered the Motion and all other matters of records, including the lack

of objection thereto, and based on the foregoing, no further notice or hearing is required and the

Court finds that good cause exists to grant the relief requested in the Motion.

       Accordingly, it is hereby

       ORDERED that the Motion is GRANTED: the Settlement is approved. It is further

       ORDERED that Trustee may take any other actions necessary to effectuate the terms of

the Settlement. It is further

       ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Settlement, and (iii) enter such

other and further orders as may be necessary, just, or proper as an aid to enforcement or

implementation of this Order.

                                    [END OF DOCUMENT]




                                                 2
Case 20-65736-pwb       Doc 28    Filed 12/08/20 Entered 12/08/20 11:09:52   Desc Main
                                  Document     Page 3 of 3




Order prepared and presented by:

By:/s/ S. Gregory Hays
    S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Road, NW
Suite 555
Atlanta, GA 30305

Identification of parties to be served:

Office of the United States Trustee
362 Richard B. Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
3343 Peachtree Road, NE
Suite 200
Atlanta, GA 30326

Daniel E. Raskin
Law Clinic of Daniel E. Raskin
Suite 114
325 Hammond Drive
Atlanta, GA 30328

Victor Vu Nguyen
293 Grand Manor Dr.
Marietta, GA 30068
